Case 2:18-cv-01207-CRE Document 1-2 Filed 09/11/18 Page 1 of 9

' F`PCElVED
United States“District Court for '¢

The Western District of Pennsyivania

Case No. SEP 1 12018
Dana w.wi1ey, _ .K,U.S.DISTR|CTCOURT
P1ai mci tf, i'. Dlsi. or PENNSYLVANIA
v.
Worid_Wrest]in Entegtaigment
cEO:Vince McMa on an Jo n Due /
D-Generation X / NWO wrest]ing emp]oyees, l?z `:2&:;:7
Defendants;

 

Piaintiff's compiaint for (1)Federa1 Trademark Infringement,

15 u.s.c 1114; (2)Fair use copyright trademak agreement to advertist,promote and
distribute, without unfair roya1ty payment pursue of unfair competition,

15 u.s.c 1125(a);(3)Deceptive And Unfair Trade Practces, F.S.A 501,(4)Breach of
COnt r‘aCt .

I.Introduction.
This matter concern's the trademark of the defendants;CEo, vince McMahon and
John Due of the D-Generation X/ New Wor1d Order wrest1ing empioyess for faiiure
to re1ease the officia1 copyright contract hereto p1aintiff,Dana Wi1ey a1on with
royalty payment for above work tit1ed: D-Generation X/ New Wor]d Order Merc andise
in support of Exhibit(A)page 1 of 6.

2.Introduction. _
Dana wiiey brings this action to secure reiief under federa1 and Pennsyivania
state 1aw.Dana wi1ey seeks:(a)Temporary Pre1iminary and Permanent injunctions;
pursuant to 15 u.s.c 1117(a)
requiring the defendants to re1ease the officia1 fair use copyright contract
§B)roya]ty payment damages and (C)defendant pay cost of this action and any 1ega1
ee's.

II.Parties
1.P1aintiff,Dana wiley is a pub]ic residence under the 1aws of the state of
Pennsyivania at:531 Case Street Apt-9 Rochester, Pa 15074
ce11 phone:724/558/7679.he is in good standards with the federa1 and state
Pennsy1vania 1aws.he has exhausted a11 federa1 and state remedise and done
everything and necessary and proper to bring this 1awsuit.

2.Defendants based on information and be1ief.wor1d wrest1ing Entertainment CEO;
vince McMahon John Due of the D-Geberation X / New wor1d Order wrest1ing empioyees
has jurisdiction of this matter and is located at above address:

1241 East main street Stamford, CT 06902

III.Jurisdiction And Venue

Thi§(€§urt has origina1 jurisdiction pursue to the 5th amendment under 15 u.s.c
112 a _
(action arising under the Lanham Act) and 28 u.s.c 1331,133§(a) (federa] question)
in that this case arises under the Trademark Laws of the United States,

15 u.s.c 1051-1127.

2.This Court has 'urisdiction pursue to the 5th amendment under 28 u:s.c 1538(b)
in accordance wit the rincip es of pendant jurisdiction in that said cWaims are

joined with substsantia and re1ated ciaims under the Tradmark of the
Page 1

 

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Case 2:18-cv-01207-CRE Document 1-2 Filed 09/11/18 Page 2 of 9

united srates,ls u.s.c 1051-1127;

Statement of Facts.
1.P1aintiff,Dana wi1ey signed a fair use copyright contract with the above
defendants;worid wrestiing entertainment:CEO;Vince McMahon John due of the
D-Generation X / New wor1d Order wrestiing em 1oyees on August 21,1995 infront
of the Lawrence County Courthouse of New Cast e, Pa officia1 after Dana Wi1ey
was sentence in a unre1ated crimina1 case No.1144/1994 for the above tradmark
work titied(D-Generation X/ New Wor1d Order merchandise.

2.These defendant's over 20 p1us ear's has ignored nor respondent to numerous cease
and desist notice,simiiar as exhi it(A) Page 1 of 6 that p1aintiff,Dana Wiiey
sumbitted to the defendant's on Ju1y 12,2018.

3.These defendant's has fai1ed to re1ease a copy of the fair use copyright contract
hereto p]aintiff,Dana wiiey for the above tradmark work tit1ed:D-Generation X and
New wor d Order Merchandise aiong with a royaity payment.

Conc1usion.
Hererfoth on above day of §§1§5\0,2018 P1aintiff,Dana Wi1ey hereby seek's (a)
Temporary pra\mnnar§ and permanent injuctions pusrue to 15 u.s.c 1117(a) _
(A)Court ordering t e defendants to respond to the a11egations of these facts in
support of exhibit (A)page 1 of 6 within (30) days.

(B)court order the defendant's to re1ease 0fficia1 copy of the fair use copyright
contract hereto P1aintiff,Dana Wiiey.

§C)court order the defendant's to pay royaity damages hereto piaintiff,Dana Wi1ey
in the_amount of $75-mi11i0n no iess then $10-mi1iion herefor above trademark
work tit1ed(D-Generation X / New wor]d Order Merchandise.

(D)require the defendant's to pay cost of this action or any 1ega1 fee's by
the court's.

The said a11egation are hereby true and correct in accordance of the United States
1aws of the u.s constittution of perjury the above defendant's has been hereby

pro se serve by the c1erk of courts of the United States Federa1 Court of western
Pennsy1vania and p1aintiff,Dana Wiiey.

First c1ass certified mai1
on above Date:September \0,2018

Dana wi'1ey,P1ai'nti'ff wor1d wrest]i'n Entertainment

531 Case Street Apt-9 CEO;Vince McMa on John Due of the
Rochester,Pa 15074 D-Generation X / New Wor1d Order
ce11 phone No.724-558-7679 Wrest1ing empioyees

' 1241 East main street
x§*x/nxl,»?*l¢§&%i;_/ Stamford,CT 06902

Page 2

 

Case 2:18-cv-01207-CRE Document 1-2 Filed 09/11/18 Page 3 of 9

\`:`v(\`\\%\l¥ kidd Y<§i€ \o\r`\ (O

CEASE AND DESIST NOTICE
REQUEST FOR ROYALAITY PAYMENT
FOR INFRINGEMET OF COPYRIGHT

 

Dear;Wor]d wrestiing Entertainment
CEOP:Vincent McMahon And A11
D-GenrationX/Nwo wres1ting Emp1oyees

Case No.7/12/2018
"sTATEMENT oF Facts"

It has become to my attention I hereby confirm that (WWE.ET-AL) wrongfu]iy
infringed my right's in accordance to section;107 of 1988

Campbe 1 Vs. Acuff-Rose Music,Inc and

Automatic Radio Co Vs.Haze1tine Research,Inc.,339 U.S. 827(1950)

herefor the copyright work entit1ed(D-GenrationX/NWO merchandise.

STATEMENT OF ARGUMENT

 

(wwE.ET.AL) over the course of 20-year's they have officiaTy fai1ed to provide
I, Dana w.wi]ey a royaiaity payment for the above work entitTed.
(D-GenrationX/NWO merchandise) you have a11 so ignored severa1 Tetter's
Dated:3/9/2011., from I,Dana W.wi1ey seeking royaiaity payment of sum
$3-mi11ion a year for 1ife time payment; aiong with a coEy of the officia1
fair-use Law act of sect,107(1988)5th amendment; copyrig t contract

we agreed upon on the above date of August 21,1995.

STATEMENT OF COLLUSION

I,Dana w.Wiiey; seek's the royaiaity sett1ement payment of $75-mi11ion no 1ess
then $10-mi11ion herefrom (wwE.ET.AL)

for the above work entit1ed (D-GebrationX/NWO Merchandise)

wwE.,ET.AL) has officia11y (30) Day's to reso1ve this matter with I,Dana w.wi]ey
in accordance of Privacy aw-Act of 1974,5 u.s.c 552a,

if (wwE.ET.AL) fai1es to reso1ve this matter within (30)Day's you hereby

waive a11 right's and officia11y confirm the said foregoing is true and correct
pursue to the penaity of perjury section,(18 u.s.c 1621).

SINCERELY TuRLY voUR'S

DANA w.wILEY;

531 cAsE STREET APARTMENT#9
ROCHESTER,PA 15074

CELL PHONE NUMBER#724/558/7679
EMAIL:wi11iamdana806@yahoo.com
wi1eydana07@gmai1.com
Date:7/12/2018

<x:]4BL/Ztaau., QLLFSILL)¢LJZFL;z:"

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CaSe 2:18-cv-01207-CRE Document 1-2l Filed 09/11/18 Page 4019 - 1 -»

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Case 2:18-cv-01207-CRE Document 1-2-_ Filed 09./11/18 Page 5 of 9

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Case 2:18-cv-01207-CRE Dc`)Cument 1-2 Filed 09/11/18 Page 8 of 9 '

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Case 2:18-cv-01207-CRE Document 1-2 Filed 09/11/18 Page 9 of 9

Certificate of Service

I hereby certify that a true copy of the foregoing Consent was

served (by mail)(by hand deliver

Y)(via electronically) on all parties
of record in this cause, this

day o£_____ ,20__

 

 

 

Signature

